Case 5:21-cv-10937-JEL-EAS ECF No. 65, PageID.941 Filed 05/20/21 Page 1 of 8




Melvvin Jones Jr - Pro Se Plaaintiƴ   1935 Hosleer St - Fliint, Michigan 48503

Ph #810-9962-66225        Email:: meljjonesjr@gmail.ccom



IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
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                                             CASE # 2:21-ccv-110937

                       Relaated case # 16 - 10444

                                      Transferred to District Court Judge Levey

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State of Michigan , Hamiltton Lincolnn Law Innstitute (Cntr. for Claass Action
Fairness) ---- Plaaintiƴs

v.

NAPOLI LAWFIR
            RM, and Attorney Corey Stern, Attorney Hunter and
Attorney Lanciotti ---- Defendants

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Case 5:21-cv-10937-JEL-EAS ECF No. 65, PageID.942 Filed 05/20/21 Page 2 of 8




Disableed Pro Se Plaaintiƴ Melvvin Jones Jr.’’s Motion as to
(defendant Attorneys’) Napolii Law Firm, Attorney Stern,
Lanciotti and Hunter’s: Misleading and False
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such ….attached exhibit labeled “XRF
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PRIMARY CAREGIVER (i.e. Colleen Connors)....
And is oƦered here to aid the District Court
(and/ or the Michigan State Supreme Court
and/ or the Michigan State Attorney General
[i.e. AG Dana Nessel] in providing
ADVISORY-OPINION) as to attorney
Case 5:21-cv-10937-JEL-EAS ECF No. 65, PageID.943 Filed 05/20/21 Page 3 of 8




defendants Stern, Lanciotti, Hunter and
NAPOLI LAW FIRM}].

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      Respectfully Submitted.

Dat
Date: May 20th, 2021




signed : ……………………………………………………………………………..

     Melvin Jones Jr. - Disabled Black

African American Pro Se Plaintiff
Case 5:16-cv-10444-JEL-MKM
  Case  5:21-cv-10937-JEL-EASECF
                              ECFNo.
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                                                 ATTORNEYS AT LAW
                                            605 THIRD AVENUE, 33RD FLOOR
                                                 NEW YORK, NY 10158
                                                    ____________
         NEW JERSEY OFFICE                                                                         ALBANY OFFICE
   QUAKERBRIDGE EXECUTIVE OFFICE                                                                  90 STATE STREET
       101 GROVERS MILL ROAD
                                                    (212) 605-6200                               ALBANY, NY 12207
      LAWRENCEVILLE, NJ 08648                     FAX: (212) 605-6290                         TELEPHONE: (518) 286-5068
      TELEPHONE: (609) 720-0400                   WWW.LEVYLAW.COM
          FAX: (609) 720-0457


                                              Writer’s Direct Email:
                                              cstern@levylaw.com

                                                   March 5, 2021

  VIA UNITED STATES MAIL & EMAIL
  The Honorable Judith E. Levy
  U.S. District Court, Eastern District of Michigan
  200 E. Liberty Street, Suite 300
  Ann Arbor, MI 48104

           Re:       IN RE: FLINT WATER CASES – BONE SCANS
                     CASE NO. 16-CV-10444-JEL-EAS

  Dear Judge Levy:

          We write Your Honor to address the public allegations made regarding the safety and use
  of portable x-ray fluorescence (“XRF”). As the Court is aware, under the proposed settlement an
  XRF is but one method to measure the lead a claimant may have been exposed to in the Flint
  community. Claimants have multiple opportunities to obtain compensation that do not involve the
  XRF scan. Dkt. No. 1319-2. The inclusion of this provision of the settlement was negotiated over
  many months, and included in the Master Settlement Agreement dated August 12, 2020, the
  Motion for Preliminary Approval, dated November 17, 2020, and the Amended Settlement
  Agreement dated January 14, 2021.

          We are aware that the Motion for Immediate Suspension of the Use of Portable XRF Bone
  Scanning Tests Pending a Further Hearing was filed (Dkt. No. 1443) and another objection filed
  have gained some media attention which raised concerns in the community about the safety of the
  XRF.1 Although the motion was subsequently withdrawn (Dkt. No. 1449), we believe it is
  imperative to share essential information concerning the true nature of the XRF currently being
  used to measure bone lead for those individuals in the Flint community who choose to undergo the
  scan. We emphasize that under no circumstances would we ever expose our clients or others in the
  community to risk of harm. As explained below, the expert physicians and physicists who have
  developed and supervised the scanning process have published many studies and analyses that
  provide assurance that the process is without risk and, as discussed below, have received approvals
  from Purdue University and Harvard University to utilize the technology on humans.

          In Flint, the XRF is solely being utilized as a method to quantify individual bone lead levels
  and is not being offered as a medical procedure nor for diagnosis or treatment purposes. XRF has
       1
         Co-Liaison Counsel is also in receipt of the Objections of Dr. Lawrence A. Reynolds, M.D., FAAP Regarding
  the Proposed Flint Water Settlement Agreement (Dkt. No. 1436). While this letter touches upon several of the issues
  raised in Dr. Reynolds’ Objection, Co-Liaison Counsel intend to fully respond to all objections by no later than May
  27, 2021, pursuant to the Court’s Schedule. See Dkt. No. 1399, Page ID. 54467.
Case 5:16-cv-10444-JEL-MKM
  Case  5:21-cv-10937-JEL-EASECF
                              ECFNo.
                                  No.1455, PageID.57128Filed
                                       65, PageID.946     Filed 03/05/21Page
                                                             05/20/21     Page
                                                                             6 of2 8of 4

  Honorable Judith E. Levy
  March 5, 2021
  Page 2

  been used for many years to determine the bone lead level of individuals from children to adults
  in a variety of different settings.2 It can determine the level of exposure to lead on a long-term
  basis not available by other means.3 The stationary XRF is a large stationary device that requires
  approximately 30 minutes of exposure to generate a reading. This type of XRF is used at a number
  of medical centers and university hospitals for the measurement of bone lead in humans. Most
  notably, the stationary device has not been approved by the FDA. The use of XRF has been verified
  in theoretical, human, animal, and lab settings using multiple methodologies for validation.4

          The current portable XRF is being used in Flint to provide easier access to the scan
  technology. The portable XRF uses the same methodologies as the stationary XRF to measure lead
  exposure and requires only three to five minutes of exposure. The XRF in use is a model that was
  modified from its commercial state for human use. Without such modifications, which require
  proper supervision and calibration, the device would not be suitable for use in humans. The
  modifications applied here are consistent with modifications that have been done in studies
  conducted at Purdue University and Harvard University and have been approved for such use by
  several IRBs, including at Harvard and Purdue.5

         In fact, both Dr. Aaron Specht and Dr. Linda Nie, have conducted other XRF programs,
  using the portable XRF, which have received approvals from Harvard University and Purdue
  University. Dr. Specht worked directly with the inventors of the portable XRF to customize the
  XRF calibrations specifically for these measurements as part of his validation work.

         The portable XRF poses no risk to children or adults to exposure to radiation. This has been
  confirmed in previous radiation dose studies of this XRF. See, Radiation dose assessments for in
  vivo measurements using a portable x-ray fluorescence device. Health Physics. 2019; 116(5):590-
  598. That study shows the radiation dose is equivalent to that of nine (9) hours of natural
  background radiation sources (standing outside in the sun), or less than 1/30th of a typical chest x-


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         Wielopolski, Ellis et al. 1986, Bleecker, Mcneill et al. 1995, McNeill, Stokes et al. 2000, Grashow, Spiro et al.
  2013, Specht, Lin et al. 2018.
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          Rabinowitz MB. Toxicokinetics of bone lead. Environ Health Perspect. 1991 Feb;91:33-7. doi:
  10.1289/ehp.919133. PMID: 2040248; PMCID: PMC1519353.
       4
         Nie, Sanchez et al. 2011, Specht, Weisskopf et al. 2014, Specht, Lin et al. 2016, Specht, Parish et al. 2018,
  Specht, Dickerson et al. 2019, Specht, Kirchner et al. 2019.
       5
         Zhang, X., Specht, A.J., Wells, E., Weisskopf, M.G., Weuve, J., and Nie, L.H., Evaluation of a portable XRF
  device for in vivo quantification of lead in bone among a US population, Sci Total Environ. 753, Jan. 20, 2021; Specht,
  A. J., Y. Lin, J. Xu, M. Weisskopf and L. H. Nie (2018); Specht, A. J., M. Weisskopf and L. H. Nie (2018), Childhood
  lead biokinetics and associations with age among a group of lead-poisoned children in China." Journal of Exposure
  Science & Environmental Epidemiology; Specht AJ, Lin Y, Weisskopf M, Xu J, Nie LH, Bone lead levels in an
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  98; Specht, A. J., M. Weisskopf and L. H. Nie (2014), Portable XRF Technology to Quantify Pb in Bone In Vivo, J
  Biomark 2014: 398032; Specht, A. J., Y. Lin, M. Weisskopf, C. Yan, H. Hu, J. Xu and L. H. Nie (2016). XRF-
  measured bone lead (Pb) as a biomarker for Pb exposure and toxicity among children diagnosed with Pb poisoning,
  Biomarkers 21(4): 347-352; McNeill, F. E., M. Fisher, D. R. Chettle, M. Inskip, N. Healey, R. Bray, C. E. Webber,
  W. I. Manton, L. Marro and T. E. Arbuckle (2017), The decrease in population bone lead levels in Canada between
  1993 and 2010 as assessed by in vivo XRF, Physiol Meas 39(1): 015005; McNeill, F. E., L. Stokes, J. A. Brito, D. R.
  Chettle and W. E. Kaye (2000), 109Cd K x ray fluorescence measurements of tibial lead content in young adults
  exposed to lead in early childhood, Occup Environ Med 57(7): 465-471.
Case 5:16-cv-10444-JEL-MKM
  Case  5:21-cv-10937-JEL-EASECF
                              ECFNo.
                                  No.1455, PageID.57129Filed
                                       65, PageID.947     Filed 03/05/21Page
                                                             05/20/21     Page
                                                                             7 of3 8of 4

  Honorable Judith E. Levy
  March 5, 2021
  Page 3

  ray, which is the most common x-ray procedure.6 This radiation dose has been quantified using
  thermoluminescent dosimeters, optically stimulated luminescent dosimeters, and simulations
  using the exact parameters and procedures of the XRF used in Flint and in all studies using the
  portable XRF.7 This publication also explains the potential risks of the procedure in comparison
  to known deterministic and stochastic radiation effects. The risk from radiation exposure of this
  amount is too small to be measured directly and is considered to be negligible when compared to
  everyday risks.8 It is much less than from a dental X-ray or from an X-ray taken of a bone to find
  out if it is broken.

         Nonetheless, in Flint additional precautions are taken. All testing is being performed under
  standard protocols with a medical director overseeing the program to ensure compliance. The
  protocols for testing were developed by Dr. Michael Weitzman and Dr. Aaron Specht. The
  protocols are the same as the procedures used in IRB approved studies for the use of XRF on
  humans.9 The program was developed exclusively to show proof of exposure levels and now for
  settlement purposes under the MSA.

          Under the protocols, a participant will come in to be tested in private screening rooms
  where trained nurses administer the test. The x-ray settings are checked prior to measurement on
  XRF startup. The XRF location was chosen to be the mid tibial shaft. The tibia was identified, and
  the nurses were trained in the operation of the XRF on site by Dr. Aaron Specht. This procedure
  was overseen by Dr. Michael Weitzman to verify the safety of individuals and nurses during
  operation and proper administration. The operators were provided standard operating procedures
  (SOP) of the XRF operation during training and refresher trainings, and hard copies for reference
  during the measurements.

          Dosimetry of the XRF was completed by Dr. Aaron Specht based on calibrations
  previously approved by IRBs at Harvard and Purdue. The exact dose measurements were identified
  using optically stimulated dosimeters, thermoluminescent dosimeters, and simulation with a
  Monte Carlo N-Particle transport code to assess the skin and total-body effective dose typical of
  the XRF. Further, measurements were completed in the same way in many previous studies of
  bone lead. The same fitting algorithm, uncertainty estimation, and quality assurance checks used
  in those studies were utilized in the bone lead assessments done in Flint.

          The medical director for the scanning program, Dr. Michael Weitzman, is at NYU Langone
  Health. He is a Board-Certified Pediatrician specializing in environmental neurotoxin exposure in
  children. He served as Chairman of the Department of Pediatrics at the NYU School of Medicine.
  He is the 2017 American Pediatric Society's John Howland Award recipient, which is considered
  the highest honor in academic Pediatrics. For over 20 years, Weitzman has studied the neurotoxic
  effects of lead exposure on children. His research on preventing childhood lead exposure has
      6
         https://www.epa.gov/radiation/radiation-sources-and-doses; https://ncrponline.org/publications/reports/ncrp-
  report-160-2/

     7
       Specht AJ, Zhang X, Goodman B, Maher E, Nie LH, Weisskopf MG. Radiation dose assessments for in vivo
  measurements using a portable x-ray fluorescence device. Health Physics. 2019; 116(5):590-598.
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       Id.
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       Supra, note 4.
Case 5:16-cv-10444-JEL-MKM
  Case  5:21-cv-10937-JEL-EASECF
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                                       65, PageID.948     Filed 03/05/21Page
                                                             05/20/21     Page
                                                                             8 of4 8of 4

  Honorable Judith E. Levy
  March 5, 2021
  Page 4

  influenced lead policy in several major ways, including contributing to a paradigm shift from
  treating lead poisoned children to a primary and secondary prevention approach that involves home
  investigations and abatements and screening of children to trigger home investigations and repairs.
  He also has contributed to the current Housing and Urban Development (HUD) and Environmental
  Protection Agency (EPA) dust lead clearance levels post lead abatement, as well as contributing
  to the Centers for Disease Control and Prevention (CDC) changing its definition of elevated blood
  lead levels and its lead screening and treatment guidelines. He served on the CDC Advisory
  Committee on Childhood Lead Poisoning Prevention from 1997-2002 and the EPA Clean Air
  Clean Air Scientific Advisory Committee Lead Review Panel from 2010-2013. The medical
  director has tight control overseeing the process meetings weekly with the team and available daily
  if necessary.

           Dr. Aaron Specht is on the faculty at Department of Environmental Health Harvard T.H.
  Chan School of Public Health. He has his Doctorate in medical physics. He has a detailed
  understanding of the role of environmental exposures in human health. His background has a strong
  focus on physics and the sub disciplines of medical and health physics and exposure assessment and,
  in particular, x-ray fluorescence (XRF) and its uses in public health. He identifies individual exposure
  levels to metals and health outcomes resultant from exposures. He has worked on developing a
  handheld XRF for non-invasive measurement of cumulative exposure to toxicants in bone. He has
  written dozens of articles dealing with these type of public health assessments.

       As these credentials show these experts have dedicated their careers to public health of the
  community, including to children. They would not, nor would we allow any risk to the community.

          Finally, approval under the Clinical Laboratory Improvement Amendments of 1988 (CLIA) is
  not necessary for the stationary or portable XRF because the test is not being used as a “diagnosis,
  prevention, or treatment of any disease.” The sole purpose of the test is to quantify lead exposure for
  purposes of settlement. Similarly, approval is not required under the Food, Drug, and Cosmetic Act
  (“FDCA”) because the XRF scans in Flint are not “intended for use in the diagnosis of disease or other
  conditions. . .” The tests are not being used to inform the recipient of any medical or diagnostic criteria
  beyond the test results itself for purposes of litigation and claim categorization.

          We thank the Court for its attention to this matter.

                                                                   Respectfully submitted,

  LEVY KONIGSBERG, LLP                                             NAPOLI SHKOLNIK PLLC

  /s/ Corey M. Stern                                               /s/ Hunter J. Shkolnik
  Corey M. Stern                                                   Hunter J. Shkolnik
  Co-Liaison Counsel                                               Co-Liaison Counsel




  cc:     All Settling Parties via email
